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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

CENTURUM INFORMATION
TECHNOLOGY, INC.

Plaintiff,
¥S.
Civil Action No, 21-0082
GEOCENT, LLC JURY TRIAL DEMANDED
-and-

4S-SILVERSWORD SOFTWARE AND
SERVICES LLC

Defendants.

TEMPORARY RESTRAINING ORDER

Considering the Verified Complaint for a temporary restraining order and for a
preliminary injunction, and considering the arguments made by counsel for Plaintiff and
counsel for Defendant Geocent, LLC, the Court, for reasons orally delivered on January 14,
2021, finds that the Plaintiff through prima facie evidence has met the requirements for a
temporary restraining order. Accordingly,

iT IS HEREBY ORDERED that a temporary restraining order is entered,
enjoining and prohibiting Defendant Geocent, LLC (“Geocent”} and its employees,
apents, successors, assigns, and affiliates (including Defendant 4S-Silversword
Software Services, LLC (“Silversword”)), and those persons or entities in active concert

or participation with them, from:

1. Contacting or soliciting Centurum personnel;

2. Accessing, studying, copying, using, disclosing, disseminating, taking notes on, or

 
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otherwise considering for any purpose Plaintiff's proprietary information and trade
secrets;

3. Destroying, altering, erasing, secreting, or failing to preserve any and all of
Plaintiff's business materials, property, proprietary information, confidential
information ot trade secrets, and/or any and all record or documents that may
be relevant to this lawsuit, wherever located, and in whatever form, including but
not limited to any documents, emails, reports, software, files, electronic data,
tangible evidence, financial records, and any and all communications between any
employee, member, owner, investor, or consultant of Geocent and/or Silversword,
or their parent companies, subsidiaries, or joint ventures;

4. Failing to return to Centurum the information, property, and storage devices
containing Plaintiff's proprietary information and/or trade secrets that are
identified in the Verified Complaint and supporting documents,

IT IS FURTHER ORDERED that Defendant Geocent shall:

1, Take all necessary steps to put on hold the Geo4S Technologies joint venture
proposal submitted to the Government which are based, in whole or in part,
on Centurum’s proprietary data or employee assets;

2. Provide the name(s) of individual(s) with knowledge and who can testify
regarding all material in Geocent’s possession that is based on the technical and
price/cost data and/or input provided by Centurum, to include all notes and other
documents generated, including but not limited to the April 2020 “Solutioning”

session that Geocent hosted with two Centurum personnel; and

 
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4, Install or cause to be installed a comprehensive litigation hold, for Geocent,
Silversword, and Geo4S Technologies, on all hard copy and electronic documents
and communications pertaining to the underlying projects and proposals, from
2017 to thé present, to include without limitation all dealings with Centurum, the

Government customer, and those acting in concert with defendants.

It IS FURTHER ORDERED that Plaintiff post a bond of $5,000.00.
IT IS ORDERED that this temporary restraining order, unless extended for good cause,
will expire by its terms within 14 days of the date and hour of its issuance. The parties may

request a transcript of today's proceedings from Court Reporter Toni Tusa at (504) 589-7778.
IT IS ORDERED that a hearing on whether the Court should enter a preliminary
injunction on the merits of Plaintiffs claims will be held on January 28, 2021, at
8:30 AM via Zoom. A pretrial conference by telephone will be held on January 26, 2021 at

8:30 AM. The Court will circulate dial-in information via email to the appropriate parties.

New Orleans, Louisiana, this 14th day of January 2021.

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t
UNITED STATES DISTRICT JUDGE

 
